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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :      Case No.: 21-CR-00160
               v.                             :
                                              :
KUEHNE ET AL.,                :
                                              :
                          Defendant.                 :


                                  NOTICE OF APPEARANCE

       The United States of America by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that the above-captioned matter is assigned to Assistant

United States Attorney, Samantha Miller, who may be contacted by telephone at (202) 527-1814

or e-mail at samantha.miller@usdoj.gov. This is notice of their appearance in this matter on behalf

of the United States.



                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     DC Bar No. 481052

                                              By:    /s/ Samantha Miller
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